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  UNITED STATES DISTRICT COURT                   ☆       SOUTHERN DISTRICT OF TEXAS
                                                             HOUSTON DIVISION


JAVIER TAPIA, INDIVIDUALLY, AND                      §
AS PERSONAL REPRESENTATIVE                           §
OF THE ESTATE OF A.W.T.; AND,                        §
JENNIFER WELBORN                                     §
                                                     §
versus                                               §      Case Number: 4:23−CV−00042
                                                     §
UNION PACIFIC RAILROAD CORP.                         §
UNION PACIFIC RAILROAD CO.; AND                      §
JOHN DOE.                                            §


                                    NOTICE OF REMOVAL


         Please take notice that pursuant to 28 U.S.C. § 1441 et seq., Defendants Union Pacific

Corporation and Union Pacific Railroad Company, hereby remove the above-captioned case

from the District Court of Harris County, Texas to the United States District Court for the

Southern District of Texas, Houston Division, based on the following facts, which demonstrate

the subject matter jurisdiction of this Court.

         1.     On December 12, 2022, Plaintiffs Javier Tapia and Jennifer Welborn filed their

Complaint in the District Court of Harris County, Texas, Case No. 202280508, alleging various

claims against Union Pacific Corporation and Union Pacific Railroad Company arising out of an

incident involving their daughter that occurred on November 15, 2022, in or around Houston,

Texas. Plaintiffs are asserting a wrongful death claim and survival claims in relation to the

incident.




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         2.       In accordance with Local Rule LR81, Union Pacific attaches the following

documents in support of this Notice of Removal: 1

                  Exhibit 1:        All executed process in this case;

                  Exhibit 2:        Plaintiff’s Original Petition, which is the operative petition;

                  Exhibit 3:        Docket Sheet; and

                  Exhibit 4:        List of all counsel of record.

         2.       Both Union Pacific Corporation and Union Pacific Railroad Company were

served with Plaintiffs’ summons and complaint on December 14, 2022. See Ex. 1. As such, this

Notice of Removal is filed within 30 days of receipt of the complaint and is timely. See 28

U.S.C. § 1446(b).

         3.       Union Pacific Corporation and Union Pacific Railroad Company remove this

action to federal court pursuant to 28 U.S.C. § 1332, as the amount in controversy exceeds

$75,000 and the action is between citizens of different states.

         4.       The amount in controversy exceeds $75,000.00. In the Complaint, Plaintiffs

expressly pray for “monetary relief over $1,000,000.” Ex. 2, Orig. Pet. at pg 6. Accordingly, the

amount in controversy exceeds $75,000.00, exclusive of costs and interest.

         5.       There is complete diversity between Plaintiffs and Union Pacific Corporation and

Union Pacific Railroad Company.

         Union Pacific Corporation is a Utah corporation with its principal place of business in

Nebraska. Accordingly, Union Pacific Corporation is a citizen of Utah and Nebraska for

purposes of determining diversity. 28 U.S.C. § 1332(c)(1).



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  As of the time of filing of this Notice, there were no orders signed by the State Court Judge. Furthermore, in order
to satisfy Local Rule LR 81’s requirement of filing “[a]n index of matters being filed”, counsel is providing this list
of documents.


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        Union Pacific Railroad Company is a Delaware corporation with its principal place of

business in Nebraska. Accordingly, Union Pacific Railroad Company is a citizen of Delaware

and Nebraska for purposes of determining diversity. 28 U.S.C. § 1332(c)(1).

        Plaintiffs are citizens of Texas. Ex. 2, Orig. Pet. at pg 6. Thus, at the time of the filing of

the Complaint and at the present time, there is complete diversity.

        6.      Venue is proper in this Court pursuant to 28 U.S.C. § 1441(a) because it is the

district and division embracing the place where the state court action is pending. 28 U.S.C. §

83(a)(3).

        7.      No previous application has been made for the relief requested herein.

        8.      This Notice of Removal has been served on all named parties to the removed case

who have been properly served.

        9.      A written Notice of Filing of Notice of Removal, together with a copy of this

Notice, will be filed with the Clerk of the Court for the District Court of Harris County, Texas,

and will be served upon Plaintiffs, as required by 28 U.S.C. § 1446(d).

        WHEREFORE, Defendants, Union Pacific Corporation and Union Pacific Railroad

Company, ask this Court to assume jurisdiction over this matter and for all other proper relief to

which it is entitled.



                                               [SIGNATURE ON FOLLOWING PAGE]




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                                           Respectfully submitted,




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                                           ATTORNEYS FOR UNION PACIFIC CORPORATION AND
                                           UNION PACIFIC RAILROAD COMPANY

                               CERTIFICATE OF SERVICE

        I, Daniel J. Gibson, attorney for Union Pacific Corporation and Union Pacific Railroad
Company, hereby certify that on this 6th day of January 2023, I electronically filed this
document via the Court’s electronic filing system and e-mailed and mailed a copy via U.S. Mail
to the following attorneys of record:

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